Case 1:24-cr-O0082-RMB Document 12

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KIM

800 THIRD AVENUE
NEW YORK, NEW YORK 10022

coMmM

TEL +1 212 “ep

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April 26, 2024

BY ELECTRONIC MAIL

Honorable Richard M. Berman
United States District Court
Southern District of New York
500 Pearl Street

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Richard M. Berman, U.S.D.J.

New York, NY 10007

Re: United States v. Keonne Rodriguez,
24 Cr. 082 (RMB)

Dear Judge Berman:

We write on behalf of Keonne Rodriguez, the

defendant in the above-referenced matter.

Mr. Rodriguez is directed to appear for an initial presentment at 9:00 a.m. on Monday, May 29,
2024.) Given that Mr. Rodriguez resides in the Western District of Pennsylvania, we respectfully
request that he be permitted to travel to Newark, NJ on Sunday, May 28, 2024 and stay in a hotel
in advance of his initial presentment. We have conferred with the Government and Pretrial
Services, each of whom has no objection to this request.

If the Court is inclined to grant the requested relief, Mr. Rodriguez will provide Pretrial

Services with his itinerary, including hotel information
available to answer any questions the Court may have.

cc: AUSA David Felton

in advance of travel. The undersigned are

Respectfully submitted,

Sean 8. Buckley
Michael Keilty
212-488-1200

1 Kobre & Kim LLP is assisting Mr. Rodriguez and intends to appear on Mr. Rodriguez’s behalf on Monday, May
29, 2024, for purposes of the initial appearance and bail only. The firm is discussing with Mr. Rodriguez the terms

of a potential engagement in this matter.

AMERICAS (NEW YORK, DELAWARE, MIAM!, SAN FRANCISCO, SAG PAULO, WASHINGTON DC)
APAG (Hons Kons, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN IsLanos), EMEA (CrprRus, Dusai, LONDON, TEL Aviv)

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